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                                        May 23, 2024

FILED VIA ECF
Honorable Vince Chhabria
United States District Court,
Northern District of California

       RE: Case No: 3:16-md-02741-VC, In re Roundup Products Liability Litigation

To the Honorable Vince Chhabria:

       I write in response to “Order Enforcing Pretrial Order No. 240,” ECF Doc. No. 18389

(“Enforcement Order”). My paralegal, Kevin Rowe, gathered and provided to me the contact

information for counsel identified on Appendix 1 and Appendix 2 of the Enforcement Order. On May

23, 2024, I e-mailed those counsel to notify them that they are not in compliance with PTO 240. I

attached a copy of the Enforcement Order in the e-mail and included Special Master Feinberg so he

could answer any follow up questions. Next, I e-mailed the PTO 280 listserv that my office created

and reminded all MDL 2741 counsel of their duty to comply with PTO 240. I included a copy of

PTO 240 on that reminder e-mail.



                                                   Sincerely,

                                                   /s/ Aimee Wagstaff

                                                   Aimee Wagstaff , Esq.
